USCA4 Appeal: 22-6199      Doc: 7         Filed: 08/23/2024      Pg: 1 of 2




                                             UNPUBLISHED

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                               No. 22-6199


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JERMAINE ANTONIO ARMSTRONG,

                             Defendant - Appellant.



        Appeal from the United States District Court for the District of South Carolina, at Florence.
        Terry L. Wooten, Senior District Judge. (4:04-cr-00634-TLW-1)


        Submitted: July 25, 2024                                          Decided: August 23, 2024


        Before WILKINSON, GREGORY, and RUSHING, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Jermaine Antonio Armstrong, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 22-6199      Doc: 7        Filed: 08/23/2024     Pg: 2 of 2




        PER CURIAM:

              Jermaine Antonio Armstrong appeals the district court’s order and amended

        judgment granting his motion for a sentence reduction under § 404(b) of the First Step Act

        of 2018, Pub. L. No. 115-391, 132 Stat. 5194 and reducing his sentence to 336 months’

        imprisonment and denying his motion for reconsideration. Armstrong asserts that the court

        erred by increasing his sentence for the covered offense while reducing the overall

        sentence. We need not address Armstrong’s assertion because the court also stated an

        alternate sentence that does not raise the same issues. Thus, even if there was error, the

        error is harmless in light of the alternate sentence. Accordingly, we affirm the district

        court’s orders and amended judgment. We dispense with oral argument because the facts

        and legal contentions are adequately presented in the materials before this court and

        argument would not aid the decisional process.

                                                                                     AFFIRMED




                                                    2
